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Dated: April 30, 2019
The following is ORDERED:




                                           Tom R. Cornish
                                           U.S. Bankruptcy Judge
 __________________________________________________________________



                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF OKLAHOMA


IN RE:
ALEXANDER LOUIS BEDNAR                             Case No. 15-11916-TRC
                                                   Chapter 7

                             Debtor.

ALEXANDER L. BEDNAR,

                             Plaintiff,

vs.                                                Adv. No. 18-01096-TRC

FRANKLIN AMERICAN MORTGAGE
COMPANY, FEDERAL NATIONAL
MORTGAGE ASSOCIATION,
OKLAHOMA COUNTY SHERIFF,
AND RCB BANK,

                             Defendants.


      ORDER DENYING PLAINTIFF’S MOTION FOR STAY PENDING APPEAL

       Before the court is Plaintiff Alexander L. Bednar’s Motion for Stay, Preliminary

Injunction Pending Appeal and Consideration of Sanctions Against Fannie Mae and Franklin
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American for Inappropriate Actions Regarding a Subpoena (Docket Entry 62) and objections of

Defendants. This court held a telephonic hearing on the motion on April 12, 2019. Participants

in the hearing were Plaintiff Alexander L. Bednar, James Timberlake and Don Timberlake for

Federal National Mortgage Assoc. (“Fannie Mae”) and Franklin American Mortgage, Carrie A.

Remillard for Oklahoma County Sheriff, and Scott Kirtley for RCB Bank. After considering the

Motion, arguments of counsel, and review of the applicable law, the court denies the requested

relief for the reasons set forth below.

Jurisdiction

       This court has jurisdiction of this motion pursuant to 28 U.S.C. §§ 157 and 1334. The

request for a stay pending appeal is brought pursuant to Fed. R. Bankr. P. 8007.

Background

       This court dismissed this case with prejudice on November 9, 2018. Bednar filed his

appeal of the Order of Dismissal on November 21, 2019. That appeal is currently pending before

the Bankruptcy Appellate Panel of the Tenth Circuit, BAP Appeal No. 18-99. According to

Bednar, the appeal is set for oral argument in May of 2019. The subject property was foreclosed

and sold at Sheriff’s Sale in Oklahoma County in September 2018. Bednar was allowed access

to the home through November of 2018 to remove his personal possessions.

Discussion

       Bednar’s motion asks for a stay of the court’s order of dismissal and seeks a preliminary

injunction against Defendants to prevent them from violating the discharge injunction by

collecting on discharged debt, enforce a settlement agreement with RCB Bank, halt RCB Bank’s

state court foreclosure action that ended in 2016, halt Franklin American’s continuing litigation

of its “second redundant and moot foreclosure action (CJ-2016-5004)”, enjoin the Oklahoma
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County Sheriff from taking unspecified actions, and asks this court to certify numerous questions

to the Oklahoma Supreme Court. Most of this relief has been previously requested and denied by

this court’s order of dismissal and Judge Hall’s order denying emergency relief (Docket Entry

12).

       Fed. R. Bankr. P. 8007 provides that this court may issue a stay of its order pending

appeal as well as enter an order granting an injunction pending an appeal.1 “A stay is not a

matter of right, even if irreparable injury might otherwise result.” Nken v. Holder, 556 U.S. 418,

433 (2009). Issuance of a stay or injunction pending appeal is discretionary with the court. In re

Lang, 414 F.3d 1191 (10th Cir. 2005). Bednar bears the burden of proving that a stay of the

Order of Dismissal is warranted based upon the following criteria: (1) the likelihood that he will

succeed on the merits on appeal; (2) the likelihood that he will suffer irreparable injury unless a

stay is granted; (3) whether a stay will substantially harm other interested parties; and (4) whether

the public interest will be served by granting a stay. Nken, 556 U.S. at 426. The most critical of

these factors are the first two. See Nken, 556 U.S. at 434. Similarly, to obtain an injunction

against the Defendants, Bednar must show that he is (1) likely to experience irreparable harm

without an injunction and (2) reasonably likely to succeed on the merits.

       The court first observes that Bednar has waited more than four months to seek the

issuance of a stay pending appeal. The court entered its Order of Dismissal on November 9,

2018. Bednar filed his appeal on November 21, 2018. The order of foreclosure was entered June

8, 2018. The Sheriff’s Sale was held August 9, 2018 and confirmed on September 6, 2018.


       1
         The Supreme Court has addressed the difference between a stay and an injunction:
“ A stay ‘simply suspend[s] judicial alteration of the status quo,’ while injunctive relief grants
judicial intervention that has been withheld by lower courts.” Nken v. Holder, 556 U.S. 418, 428-
29 (2009)(citation omitted).
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Bednar has never appealed these orders in the state court ant thus these orders are final. He told

this court that he asked the BAP to institute a stay of this court’s dismissal order and was

instructed to seek that relief from this court. He did not seek a stay until March 15, 2019, and

requested an expedited hearing. In the meantime, Franklin American and Fannie Mae have

reportedly been attempting to sell the subject real estate. If the issuance of a stay is necessary to

prevent irreparable harm to Bednar, the court questions why he waited several months to seek it.

His timing suggests to this court that any harm he may suffer is not serious enough to warrant a

stay. Further, as Judge Hall pointed out when he first came to this court seeking relief from the

state court foreclosure action, the predicament he finds himself in is of his own making. He has

known for some time that once the property was sold at Sheriff’s Sale and he moved out, the

property would be marketed and sold by the current owner, Fannie Mae. Trained as an attorney,

he is well aware that failure to appeal the order of foreclosure resulted in a final order that may be

executed upon, that he must post a bond if he wished to stop execution of the state court

foreclosure judgment, and that filing a notice of appeal does not stay the effect of this court’s

order unless he seeks it.

       Bednar argues that under Oklahoma law an existing violation or continued violation of

law is, by definition, irreparable harm. He cites no authority for this position. Irreparable harm

is harm that cannot be prevented or fully rectified by a successful appeal. A purely economic

injury, compensable in money, cannot satisfy the irreparable injury requirement. Irreparable

harm is shown where there is an inability to calculate damages or an injury exists that is certain

and great, not merely serious or substantial.2 Bednar has not informed the court what irreparable

       2
        See Dominion Video Satellite, Inc. v. Echo Star Satellite Corp., 356 F.3d 1256, 1262
(10th Cir. 2004)(internal citation omitted)(discussing irreparable harm in the context of a
preliminary injunction.)
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harm he will suffer without a stay of the order of dismissal or issuance of injunctions.

Presumably, he believes that he will be irreparably harmed if his former home is sold and he is

unable to regain title or possession. But, as RCB Bank argues, if this happens he has a remedy of

money damages for the value of the property. Thus, the court finds that he will not suffer

irreparable harm if his motion for stay and injunctive relief is denied; therefore, this factor

weighs against granting a stay and injunction.

        Bednar argues that he has a strong likelihood of success on appeal, but he has not

provided any new information or authority supporting this claim. He assured this court that his

chances of success on appeal are “100% obvious,” and states that he has “100% evidence proof”

that the state court judgments of foreclosure were not final making the Rooker-Feldman doctrine

inapplicable to his case. He did not provide that proof to this court except to repeat the same

allegations made prior to dismissal. He also believes that because the BAP will hold oral

arguments on his appeal this indicates a likelihood of success on appeal justifying a stay.

        Contrary to Bednar’s allegations, Defendants plainly stated what the filed state court

judgment reflects, that judgment was entered in rem, not in personam. Bednar provided no

information supporting his accusation that in trying to sell real estate that they purchased at a

valid sheriff’s sale Defendants are trying to collect monies from him personally. Lacking

specific allegations, Bednar fails to show a violation of the discharge injunction sufficient to

justify any relief from this court.

        This court has reviewed the arguments and documents previously submitted, including

briefs, records from the state court foreclosure actions, and the bankruptcy court docket. The

court believes that it followed well-settled law of this Circuit in declining to review and overturn

orders in the state court foreclosure action. It still believes that the Esperanza property was
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properly foreclosed, that the RCB Bank settlement agreement was properly procured and

implemented, and that a foreclosure action seeking an in rem judgment is not a violation of the

discharge injunction. In addition, the court believes that the Esperanza property was not property

of the estate, therefore the court has no jurisdiction to issue orders affecting its title. Bednar has

not provided any additional information indicating his standing to challenge the foreclosure

actions since he admitted he was not the owner of the property at foreclosure. Bednar has not

identified any legal authority that indicates he is likely to succeed on the merits. This factor

weighs against the granting of his motion.

        The court agrees with RCB Bank that the public interest will be better served by denying

this motion. There is a strong public interest in upholding the integrity of the state court

foreclosure process and providing certainty to purchasers regarding the finality of orders

confirming sheriffs’ sales. Entry of a stay would deny this certainty and unnecessarily prolong

the foreclosure process. It would also reward Bednar for dilatory filings and abuse of the legal

system. This factor weighs against the granting of his motion.

        The court believes that Defendants would likely suffer harm if a stay is implemented.

Fannie Mae will be delayed in selling the property which could result in diminished recovery,

although no information was provided regarding this point. However, it does not appear that any

party would be substantially injured if a stay was granted. This is the only factor that appears to

weigh in favor of granting a stay.

        Finally, the court finds no issue with the conduct of any of the Defendants or their

counsel in this case and declines to consider Bednar’s allegations of misconduct. The court has

already stayed consideration of Bednar’s motion to quash a subpoena until after his appeal is

resolved. It will not revisit that decision.
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Conclusion

       Bednar has failed to satisfy the most important factors to obtain a stay pending appeal and

injunctive relief. He has failed to show any likelihood of success on appeal and failed to identify

any irreparable harm he may suffer if his requested relief is not granted. Although it is unlikely

the Defendants will suffer substantial injury if his motion is granted, the public interest lies in

assuring finality of court procedures. Therefore, the relevant factors weigh against the granting

of a stay and injunction.

       IT IS THEREFORE ORDERED that Plaintiff Alexander L. Bednar’s Motion for Stay,

Preliminary Injunction Pending Appeal and Consideration of Sanctions Against Fannie Mae and

Franklin American for Inappropriate Actions Regarding a Subpoena (Docket Entry 62) is denied.

       The Clerk of Court is directed to transmit a copy of this Order to the Bankruptcy

Appellate Panel of the Tenth Circuit.

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